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                                                                                             1/28/2021
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------------X
IEI INC.,                                                               :
                                                                        :
                                    Plaintiff,                          :   ORDER
                                                                        :
                  -v-                                                   :   19-CV-5049 (ALC) (JLC)
                                                                        :
ETG CAPITAL LLC,                                                        :
                                                                        :
                                    Defendant.                          :
------------------------------------------------------------------------X

JAMES L. COTT, United States Magistrate Judge.

        In light of Judge Carter’s January 27, 2021 order concluding that Plaintiff is

entitled to additional discovery (Dkt. No. 56), the Court will hold a status

conference to revise the case management plan on February 10, 2021 at 11:00

a.m. Counsel should contact chambers using the Court’s conference line, (877) 873-

8017 (Access Code: 5277586). The parties are directed to submit a joint letter no

later than February 8 at 5:00 p.m. proposing a schedule for the remaining

discovery and addressing the parties’ positions on whether they are interested in a

referral to the Court’s mediation program or alternatively in a settlement

conference with the Court. If the parties want either a mediation referral or a

settlement conference, they should propose the timing of such referral or conference




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in the joint letter as well (i.e., before any additional discovery, after discovery is

closed, or post any dispositive motions, etc.).

       SO ORDERED.

Dated: January 28, 2021
       New York, New York




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